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   Philanthropy & Nonprofits



   Exclusive: Houston's newest LGBTIA+ nonprofit
   aims to celebrate Pride year-round




   New Faces of Pride Houston is the Bayou City's newest LGBTQIA+ nonprofit.
   TASHA GOREL



                   By Sofia Gonzalez – Reporter, Houston Business Journal
                   Oct 4, 2023

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       Clarification: New Faces of Pride Houston is a separate entity from Pride Houston and
       does not own the trademark.


       Bryan Cotton wants to make sure Pride is celebrated year-round, not just during Pride
       month in June.

       That’s why he founded the city’s newest LGBTQIA+ organization: New Faces of Pride
       Houston, which he is also president of.

       Cotton, who who has worked in nonprofits for about two decades, moved quickly to
       establish his organization. New Faces of Pride Houston has been in the works since May,
       but officially launched July 13.

       He formed New Faces of Pride with the help of a diverse board and an advisory board
       that is representative of both the city and the county, he said.

       New Faces of Pride aims to highlight businesses and fellow nonprofits through regular
       monthly events. And the organization has already established alliances with other
       nonprofits, including the Houston Grand Opera and Alley Theater, and businesses, such
       as well-known gay bars like Pearl Bar and Rich's, formerly known as ReBar.

       In addition to keeping LGBTQIA+ businesses in the zeitgeist throughout the year, he
       hopes to bring attention to nonprofits helping members of the Pride community. One in
       particular is Tony’s Place, a nonprofit for homeless and unstably housed LGBTQIA+
       youth and allies.

       Coming up this holiday season, Cotton said New Faces of Pride wants to host a happy
       hour that will also double as a clothing drive, specifically asking for jackets that can be
       given to homeless gay youth during the winter.

       Cotton said events will ramp up as the June Pride festival approaches. For that event,
       two activities he said he’s most excited for include bar row and nonprofit alley. He said
       these will give patrons a chance to engage with businesses and programs that they might
       not be currently familiar with.
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       New Faces of Pride's first event will be on Nov. 9 at 6 p.m. at Rich's.

       The Houston Business Journal spoke with Cotton for an exclusive story to find out more
       about the new organization and its plans for the Houston area.


       What is the inspiration for this new organization? In the last few years, many people in
       the community have expressed concern about [needing] a new Pride; saying something
       needs to be done [and] whatnot. Eventually, somebody said, “Maybe that person is you,”
       and I said, “Well, I guess so.”

       I reached out to Jill Maxwell, actually ... [because] she has former board experience with
       another Pride organization. I said, “Hey, I want to start a new Pride in Houston, but I'm
       only going to do it if you will be my board secretary and do this with me.” She didn't
       even give it a second thought before she said “Let's do it,” and then we ran with it.

       Houston needs a Pride organization focused on bringing the community together and
       focused on all the nonprofits in the community, trying to shine a spotlight on everybody.
       That is our focus.

       I know a lot of other Prides do their big thing in June, [but] we want to do stuff
       throughout the year. That was one of the things that the gay bars were very happy to
       hear when we were talking with all of them. They were thrilled that we reached out to
       them and wanted to work with them. One of the things we're going to do is host monthly
       happy hours where we bring people in, but we also want to highlight nonprofits from the
       community every month. It'll be a different one every month. Even though we're a
       nonprofit, we don’t want the focus to just be on us because our focus as Pride is to
       showcase the very best of our community. That is our goal.

       How is this Pride organization different from others in the city? We are focusing on
       bringing the community together. We are focusing on the LGBTQIA+ organizations and
       the LGBTQIA+-owned businesses. We are working with the gay bars, [and] we are
       hosting events in those bars. We are also working with theater companies.

       We are giving back by highlighting all these nonprofits. We are giving back at the end of
       the season. We're cutting checks to two charities. Our goal is to focus on bringing our
       community together and making it a truly all inclusive, welcoming place for everyone.

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       You mention giving back and cutting checks to two charities. Can you expand on that
       more? How will these be chosen? We are picking two nonprofits that are going to be the
       main nonprofits we focusing on. At the end of the Pride season, when all is said and done
       — and all the bills are paid and we have money prepared for next year — we're cutting
       checks to these two organizations.

       One of the two organizations is Tony's Place. We're super excited about working with
       them. They are a fabulous organization. Hopefully with the next almost-year of coverage
       with us, events and everything else, people will learn so much more about them and give
       them quite a bit of money. Then we do have a second charity that we have selected, [but]
       we're working on a few details with them.

       We selected these two nonprofits ourselves because we knew them in the community.
       Next year, we'll have a different selection process. We will welcome people to apply,
       which we'll have a whole process for next year on our website.

       Where would you like to see the organization 10 years down the road? I want this to be
       even bigger. I would love it if we were taking on more than two charities a year. I want us
       to be a destination Pride within the next few years. With the group of people we have
       working with us, and the group of people we have wanting to help us, there's no reason
       we can’t make that happen.

       We’re the fourth largest city in the country, and we have such amazing support and
       venues — there’s no reason we can’t have one of the best Prides in the city. And that is
       absolutely our goal. When you have an organization run by people who know how to run
       an organization, and you have people on the board who know how to run a parade and
       festival, and people who have great relationships with people at the city and the police
       department and everywhere else — there’s no reason we can’t pull off an extremely
       successful event and continue to build and grow it every year.

       We want to keep our sponsors very happy. We're going to treat them with respect, as
       they should always be treated. We're going to treat our guests with respect — security
       will always be an absolute top priority for us.

       Although you all will be officially public once this article is published, what has the
       support been like so far? We're overwhelmed with the amount of support we've had —
       and we haven't even gone public. So for the number of people who have reached out to
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       us just by hearing about us from word of mouth or any of the other way — rumors that
       may have been going around or whatever — it's amazing that we've had that kind of
       support already.

       That also tells us this is what the city and the community needed, and we're doing the
       right thing. We are very proud to be the ones to do this and build a Pride that the
       community can be proud of.

       This interview was edited for length and clarity.




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